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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

   AMAZON.COM, INC. and AMAZON
   DATA SERVICES, INC.,

                         Plaintiffs

         v.                                        Case No. 1:20-CV-484 (RDA/TCB)

   WDC HOLDINGS LLC dba NORTHSTAR
   COMMERCIAL PARTNERS; BRIAN                     DEFENDANT RENRETS, LLC’S
   WATSON; STERLING NCP FF, LLC;                 SECOND AMENDED ANSWER TO
   MANASSAS NCP FF, LLC; NSIPI                    PLAINTIFFS’ THIRD AMENDED
   ADMINISTRATIVE MANAGER; NOVA                           COMPLAINT
   WPC LLC; WHITE PEAKS CAPITAL
   LLC; VILLANOVA TRUST; CARLETON
   NELSON; CASEY KIRSCHNER;
   ALLCORE DEVELOPMENT LLC;
   FINBRIT HOLDINGS LLC; CHESHIRE
   VENTURES LLC; 2010 IRREVOCABLE
   TRUST; SIGMA REGENERATIVE
   SOLUTIONS LLC; CTBSRM, INC.;
   RODNEY ATHERTON; DEMETRIUS
   VON LACEY; RENRETS LLC,

                         Defendants.

   800 HOYT LLC,
              Intervening Interpleader
              Plaintiff, Intervening
              Interpleader Counter-Defendant,
         v.
   BRIAN WATSON; WDC HOLDINGS, LLC;
   BW HOLDINGS; LLC,
              Interpleader Defendants,
   and
   AMAZON.COM, INC., and AMAZON DATA
   SERVICES, INC.,
              Interpleader Defendants,
              Interpleader Counter-Plaintiffs.
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         Defendant Renrets, LLC (“Renrets”), by counsel, for its Second Amended

  Answer to Plaintiffs’ Third Amended Complaint, states as follows:

                            PRELIMINARY STATEMENT

        1.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        2.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        3.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        4.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        5.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        6.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.




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        7.     Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

                                        PARTIES

        8.     Renrets admits that Amazon is a Delaware corporation headquartered

  at 410 Terry Avenue North, Seattle, WA, 98109. Renrets is without sufficient

  knowledge to form a belief as to the truth of the remaining allegations contained in

  this paragraph, and therefore the allegations are deemed denied.

        9.     Renrets admits that Amazon Data Services, Inc. is a subsidiary or

  Amazon and is a Delaware corporation headquartered at 410 Terry Avenue North,

  Seattle, WA, 98109. Renrets is without sufficient knowledge to form a belief as to the

  truth of the remaining allegations contained in this paragraph, and therefore the

  allegations are deemed denied.

        10.    Renrets admits that the cited document purports to show that Northstar

  was headquartered in Denver, Colorado. Renrets is without sufficient knowledge to

  form a belief as to the truth of the remaining allegations contained in this paragraph,

  and therefore the allegations are deemed denied.

        11.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.




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        12.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        13.   Admitted.

        14.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        15.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        16.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        17.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        18.   Renrets admits that Carleton Nelson is a former Real Estate

  Transaction Manager for Amazon. Renrets is without sufficient knowledge to form a

  belief as to the truth of the remaining allegations contained in this paragraph, and

  therefore the allegations are deemed denied.

        19.   Admitted.




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        20.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        21.    Renrets admits that Rodney Atherton is a Colorado-licensed attorney

  purporting to do business through the firm Ergo Law at 6870 W. 52nd Avenue, Suite

  203, Arvada, Colorado 80002. Renrets is without sufficient knowledge to form a belief

  as to the truth of the remaining allegations contained in this paragraph, and

  therefore the allegations are deemed denied.

        22.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        23.    Admitted.

        24.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        25.    Admitted.

        26.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        27.    Admitted.

        28.    Admitted.

        29.    Admitted.




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        30.   Admitted.

        31.   Admitted.

        32.   Admitted.

        33.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        34.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        35.   Admitted.

        36.   Admitted.

        37.   Admitted.

        38.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        39.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations regarding Mr. Nelson’s leaving Amazon. Renrets admits the

  remaining allegations in this paragraph.

        40.   Admitted.

        41.   Admitted.

        42.   Admitted.

        43.   Admitted.




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        44.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        45.   Admitted.

        46.   Admitted.

        47.   Admitted.

        48.   Denied.

        49.   Admitted.

        50.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        51.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        52.   Admitted.

        53.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        54.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.




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                   SUBJECT MATTER JURISDICTION AND VENUE

        55.    This paragraph contains conclusion of law to which no response is

  required. To the extent an answer is required, those conclusions are denied.

        56.    This paragraph contains conclusion of law to which no response is

  required. To the extent an answer is required, those conclusions are denied.

        57.    This paragraph contains conclusion of law to which no response is

  required. To the extent an answer is required, those conclusions are denied.

        58.    This paragraph contains conclusion of law to which no response is

  required. To the extent an answer is required, those conclusions are denied.

        59.    This paragraph contains conclusion of law to which no response is

  required. To the extent an answer is required, those conclusions are denied.

                             PERSONAL JURISDICTION

        60.    This paragraph contains conclusion of law to which no response is

  required. To the extent an answer is required, those conclusions are denied.

        61.    This paragraph contains conclusion of law to which no response is

  required. To the extent an answer is required, those conclusions are denied.

                              FACTUAL ALLEGATIONS

        62.    Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        63.    Renrets admits that the partially quoted language in this paragraph is

  contained in the document cited but denies the characterization of the language.




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  Renrets is without sufficient knowledge to form a belief as to the truth of the

  remaining allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        64.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        65.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        66.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        67.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        68.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.

        69.   Renrets is without sufficient knowledge to form a belief as to the truth

  of the allegations contained in this paragraph, and therefore the allegations are

  deemed denied.




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         70.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         71.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         72.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         73.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         74.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         75.    Renrets admits that Mr. Nelson had responsibilities concerning real

   estate transactions in the Americas. Renrets is without sufficient knowledge to form

   a belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         76.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         77.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         78.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         79.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         80.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         81.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         82.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         83.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         84.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         85.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         86.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         87.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         88.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         89.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         90.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         91.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         92.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         93.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         94.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         95.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         96.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         97.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.




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         98.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         99.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         100.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         101.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         102.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         103.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         104.   Renrets admits that the document cited shows that Amazon sent

   Northstar a Request for Proposal. Renrets is without sufficient knowledge to form a




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   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         105.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         106.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         107.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         108.   Renrets admits that the partially quoted language in this paragraph and

   a warranty clause are contained in the document cited but denies the characterization

   of the language. Renrets is without sufficient knowledge to form a belief as to the

   truth of the remaining allegations contained in this paragraph, and therefore the

   allegations are deemed denied.

         109.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         110.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         111.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         112.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         113.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         114.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         115.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         116.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         117.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         118.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         119.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         120.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         121.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         122.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         123.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         124.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         125.   Renrets admits that IPI is not named as a defendant in this action; as

   to the remainder of the paragraph, Renrets is without sufficient knowledge to form a

   belief as to the truth of the allegations, and therefore the allegations are deemed

   denied.

         126.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         127.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         128.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         129.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         130.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         131.   Renrets admits the document cited in footnote 2 purports to show that

   Dulles NCP, LLC was formed in Delaware. Renrets further admits that the document

   cited in footnotes 3, 4, and 5 purports to show several lease transactions and that

   Quail Ridge NCP, LLC was incorporated on January 17, 2018, Manassas NCP LLC

   was incorporated on May 16, 2018, and Dulles NCP II, LLC was incorporated on June

   6, 2018. Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         132.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         133.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         134.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         135.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         136.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         137.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         138.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         139.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         140.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         141.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         142.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.




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   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         143.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         144.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         145.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         146.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         147.   Renrets admits that the Lease Agreements prohibit bribes. Renrets is

   without sufficient knowledge to form a belief as to the truth of the remaining




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   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         148.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         149.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         150.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         151.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         152.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         153.   Renrets admits that Mr. Watson’s purported signature appears in the

   document cited in this paragraph. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         154.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         155.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         156.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         157.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         158.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         159.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         160.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         161.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         162.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         163.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         164.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         165.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         166.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         167.   Renrets admits this paragraph accurately describes the cited document

   but does not have knowledge as to the document’s accuracy or veracity. Accordingly,

   Renrets is without sufficient knowledge to form a belief as to the truth of any of the

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         168.   Renrets admits this paragraph accurately describes the cited document

   but does not have knowledge as to the document’s accuracy or veracity. Accordingly,

   Renrets is without sufficient knowledge to form a belief as to the truth of any of the

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         169.   Renrets admits this paragraph accurately describes the cited document

   but does not have knowledge as to the document’s accuracy or veracity. Accordingly,

   Renrets is without sufficient knowledge to form a belief as to the truth of any of the

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         170.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         171.   Renrets admits this paragraph accurately describes the cited document

   but does not have knowledge as to the document’s accuracy or veracity. Accordingly,

   Renrets is without sufficient knowledge to form a belief as to the truth of any of the




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   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         172.   Renrets admits this paragraph accurately describes the cited document

   but does not have knowledge as to the document’s accuracy or veracity. Accordingly,

   Renrets is without sufficient knowledge to form a belief as to the truth of any of the

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         173.   Renrets admits this paragraph accurately describes the cited document

   but does not have knowledge as to the document’s accuracy or veracity. Accordingly,

   Renrets is without sufficient knowledge to form a belief as to the truth of any of the

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         174.   Renrets admits this paragraph accurately describes the cited document

   but does not have knowledge as to the document’s accuracy or veracity. Accordingly,

   Renrets is without sufficient knowledge to form a belief as to the truth of any of the

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         175.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         176.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         177.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         178.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         179.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         180.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         181.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         182.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         183.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         184.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         185.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         186.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         187.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         188.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         189.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         190.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         191.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         192.   Renrets admits that this purported document exists. Renrets is without

   sufficient knowledge to form a belief as to the truth of the remaining allegations

   contained in this paragraph, and therefore the allegations are deemed denied.

         193.   Renrets admits that this purported document exists. Renrets is without

   sufficient knowledge to form a belief as to the truth of the remaining allegations

   contained in this paragraph, and therefore the allegations are deemed denied.

         194.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         195.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         196.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         197.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         198.   Renrets denies the allegations contained in this paragraph as to

   Renrets. Regarding the remaining allegations contained in this paragraph, Renrets

   is without sufficient knowledge to form a belief as to the truth of the allegations, and

   therefore the allegations are deemed denied.

         199.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         200.   Renrets admits Mr. Atherton is an attorney barred in Colorado who was

   previously suspended from the practice of law due to the purported violations of the

   Colorado Rules of Professional Conduct. Renrets further admits that the cited

   documents purport to show that Mr. Atherton had bank accounts subject to forfeiture.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         201.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         202.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         203.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         204.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         205.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         206.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         207.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         208.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.




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   Renrets further admits that the United States filed a forfeiture action. Renrets is

   without sufficient knowledge to form a belief as to the truth of the remaining

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         209.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         210.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         211.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         212.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         213.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         214.   Renrets admits that the language in this paragraph is contained in the

   document cited but denies the characterization of the language. Renrets is without

   sufficient knowledge to form a belief as to the truth of the remaining allegations

   contained in this paragraph, and therefore the allegations are deemed denied.

         215.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         216.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         217.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         218.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         219.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         220.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         221.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         222.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         223.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         224.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         225.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         226.   Renrets admits that the partially quoted language in this paragraph and

   its related subparts is contained in the documents cited but denies the

   characterization of the language. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph and its

   subparts, and therefore the allegations are deemed denied.

         227.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         228.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         229.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         230.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         231.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         232.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         233.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         234.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         235.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         236.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the




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   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         237.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         238.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         239.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         240.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         241.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         242.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         243.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         244.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         245.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         246.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         247.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         248.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         249.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         250.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         251.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations regarding Mr. Nelson’s leaving Amazon. Renrets admits the

   remaining allegations in this paragraph.

         252.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         253.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         254.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         255.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         256.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         257.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         258.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         259.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         260.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         261.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         262.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         263.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         264.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         265.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         266.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         267.   To the extent the allegations contained in this paragraph relate to

   Renrets, those allegations are denied as to Renrets. To the extent the allegations in

   this paragraph relate to other persons or entities, Renrets is without sufficient

   knowledge to form a belief as to the truth of the allegations, and therefore the

   allegations are deemed denied.

         268.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         269.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         270.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         271.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         272.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         273.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         274.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         275.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         276.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         277.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         278.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         279.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         280.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         281.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         282.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         283.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         284.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         285.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         286.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         287.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         288.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         289.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         290.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         291.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         292.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         293.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         294.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         295.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         296.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         297.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         298.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         299.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         300.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         301.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         302.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         303.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         304.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         305.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         306.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         307.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         308.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document they cited but denies the characterization of them. Renrets

   is without sufficient knowledge to form a belief as to the truth of the remaining




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   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         309.   To the extent the allegations contained in this paragraph relate to

   Renrets, those allegations are denied as to Renrets. To the extent the allegations in

   this paragraph relate to other persons or entities, Renrets is without sufficient

   knowledge to form a belief as to the truth of the allegations, and therefore the

   allegations are deemed denied. As to the subparts of this paragraph:

         i.     Renrets is without sufficient knowledge to form a belief as to the truth

                of the allegations contained in this subpart, and therefore the

                allegations are deemed denied.

         ii.    Renrets is without sufficient knowledge to form a belief as to the truth

                of the allegations contained in this subpart, and therefore the

                allegations are deemed denied.

         iii.   Renrets is without sufficient knowledge to form a belief as to the truth

                of the allegations contained in this subpart, and therefore the

                allegations are deemed denied.

         iv.    To the extent the allegations contained in this paragraph relate to

                Renrets, those allegations are denied as to Renrets. To the extent the

                allegations in this paragraph relate to other persons or entities, Renrets

                is without sufficient knowledge to form a belief as to the truth of the

                allegations, and therefore the allegations are deemed denied. Renrets

                admits, however, that, on advice of counsel, Mr. Atherton, it wired




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                 monies to Mr. Nelson. Renrets further admits that it was established in

                 May 2017 by James M. Sterner, who is Mr. Nelson’s father-in-law and

                 that James M. Sterner is the LLC’s sole member. As to the footnote

                 contained in this subpart, Plaintiffs cite to Dkt. 1, ¶ 36 in support of

                 these allegations, however, Dkt. 1, ¶ 36 does not contain these

                 allegations. Accordingly, Renrets is without sufficient knowledge to form

                 a belief as to the truth of the allegations contained in this footnote, and

                 therefore the allegations are deemed denied.

         v.      Renrets is without sufficient knowledge to form a belief as to the truth

                 of the allegations contained in this subpart, and therefore the

                 allegations are deemed denied.

         vi.     Renrets is without sufficient knowledge to form a belief as to the truth

                 of the allegations contained in this subpart, and therefore the

                 allegations are deemed denied.

         vii.    Renrets is without sufficient knowledge to form a belief as to the truth

                 of the allegations contained in this subpart, and therefore the

                 allegations are deemed denied.

         viii.   Renrets is without sufficient knowledge to form a belief as to the truth

                 of the allegations contained in this subpart, and therefore the

                 allegations are deemed denied.




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         310.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         311.   To the extent the allegations contained in this paragraph relate to

   Renrets, those allegations are denied as to Renrets. To the extent the allegations in

   this paragraph relate to other persons or entities, Renrets is without sufficient

   knowledge to form a belief as to the truth of the allegations, and therefore the

   allegations are deemed denied. As to the subparts of this paragraph:

         i. Renrets denies any illicit activity as to Renrets. Renrets is unaware of which

         extract the Third Amended Complaint references. Renrets admits that it

         obtained a promissory note from CTBSRM, the value of which would not exceed

         $5,000,000, and agreed to pay the promissory note, with interest, by September

         1, 2019.

         ii. Renrets denies any illicit activity as to Renrets. Renrets admits that Mr.

         Nelson provided interrogatory responses on March 25, 2022. Renrets further

         admits that the partially quoted language in this paragraph is contained in the

         document cited, and that on advice from counsel, Mr. Atherton, Mr. Nelson

         received money from Renrets, which received money from CTBSRM via an

         executed promissory note. As to the footnote contained in this subpart, Renrets

         admits that the partially quoted language in this footnote is contained in the

         document cited. Renrets timely paid interest on the promissory note. As to the

         remaining allegations in the footnote, Renrets is without sufficient knowledge




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         to form a belief as to the truth of the allegations, and therefore the allegations

         are deemed denied.

         iii. Renrets is without sufficient knowledge to form a belief as to the truth of

         whether Mr. Nelson produced an email from August 19, 2019, in discovery, as

         alleged in this subpart. Renrets admits, however, that on advice from counsel,

         Mr. Atherton, it received monies from CTBSRM.

         312.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         313.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         314.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         315.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         316.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         317.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         318.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         319.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         320.   Renrets admits that the signature block contained in this paragraph

   appears in the documents cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied

         321.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         322.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         323.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the




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   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         324.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         325.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         326.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         327.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         328.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         329.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a




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   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         330.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         331.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         332.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         333.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         334.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         335.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a




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   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         336.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         337.   Renrets admits that the documents referenced in this paragraph contain

   non-competition provisions but denies the characterization of the documents. Renrets

   is without sufficient knowledge to form a belief as to the truth of the remaining

   allegations contained in this paragraph, and therefore the allegations are deemed

   denied.

         338.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited. Renrets is without sufficient knowledge to form a

   belief as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         339.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         340.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         341.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.




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   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         342.   Renrets admits that the partially quoted language in this paragraph is

   contained in the document cited but denies the characterization of the language.

   Renrets is without sufficient knowledge to form a belief as to the truth of the

   remaining allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         343.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         344.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         345.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         346.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         347.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         348.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         349.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         350.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         351.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         352.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         353.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         354.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         355.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         356.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         357.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph as Renrets does not have knowledge as

   to the documents’ accuracy or veracity, and therefore Renrets denies the allegations

   in this paragraph.

         358.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph as Renrets does not have knowledge as

   to the documents’ accuracy or veracity, and therefore Renrets denies the allegations

   in this paragraph.

         359.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph as Renrets does not have knowledge as

   to the documents’ accuracy or veracity, and therefore Renrets denies the allegations

   in this paragraph.




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         360.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         361.   Renrets admits that the cited document purports to show an email from

   Mr. Watson. Renrets is without sufficient knowledge to form a belief as to the truth

   of the remaining allegations contained in this paragraph, and therefore the

   allegations are deemed denied.

         362.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         363.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         364.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         365.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         366.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         367.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         368.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         369.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         370.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         371.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         372.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the remaining allegations contained in this paragraph, and therefore the

   allegations are deemed denied.

         373.   Renrets admits that the cited documents purport to show that certain

   assets have been placed under the control of a court-appointed receiver but denies

   the characterization of such. Renrets is without sufficient knowledge to form a belief




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   as to the truth of the remaining allegations contained in this paragraph, and

   therefore the allegations are deemed denied.

         374.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         375.   This paragraph does not contain any allegations, to the extent a

   response is required, the statement in this paragraph is deemed denied.

                                         COUNT I
                                      RICO Enterprise
                    In Violation of RICO 18 U.S.C. §§ 1962(a), (b), (c), (d)

         376.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         377.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         378.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         379.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         380.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         381.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         382.   Denied.




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         383.   Denied.

         384.   Denied.

         385.   Denied.

         386.   Denied.

         387.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         388.   Denied.

         389.   Denied.

         390.   Denied.

         391.   Denied.

         392.   Denied.

         393.   Denied.

         394.   Denied.

         395.   Denied.

         396.   Denied.

         397.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         398.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         399.   Denied.

         400.   Denied.




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         401.   Denied.

         402.   Denied.

         403.   Denied.

         404.   Denied.

         405.   Denied.

         406.   Denied.

         407.   Denied.

         408.   Denied.

         409.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         410.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         411.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         412.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         413.   Denied.

         414.   Denied.

         415.   Denied.

         416.   Denied.

         417.   Denied.




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         418.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         419.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         420.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         421.   Denied.

         422.   Denied.

         423.   Denied.

         424.   Denied.

         425.   Denied.

         426.   Denied.

         427.   Denied.

         428.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         429.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         430.   Denied.

         431.   Denied.

         432.   Denied.

         433.   Denied.

         434.   Denied.




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         435.   Denied.

         436.   Denied.

         437.   Denied.

         438.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in these paragraphs, and therefore the allegations are

   deemed denied.

         439.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in these paragraphs, and therefore the allegations are

   deemed denied.

         440.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in these paragraphs, and therefore the allegations are

   deemed denied.

         441.   Denied.

         442.   Denied.

         443.   Denied.

         444.   Denied.

         445.   Denied.

         446.   Denied.

         447.   Denied.

         448.   Denied.

         449.   Denied.

         450.   Denied.




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         451.   Denied.



                                       COUNT II
                          Detinue Pursuant to Va. Code § 8.01-114

         452.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         453.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         454.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case they cited but denies the characterization of the case. Renrets

   denies the remaining allegations.

         455.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         456.   Denied.

         457.   Denied.

         458.   Denied.

         459.   Denied.

         460.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in these paragraphs, and therefore the allegations are

   deemed denied.

         461.   Denied.

         462.   Denied.




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         463.   Denied.

         464.   Denied.

         465.   Denied.

                                        COUNT III
                                          Fraud

         466.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         467.   This count does not apply to Renrets; thus, no response is required. To

   the extent an answer is required, the allegations in this paragraph are deemed

   denied.

         468.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         469.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         470.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         471.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         472.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.




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         473.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         474.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         475.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         476.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         477.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         478.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         479.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         480.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         481.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         482.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         483.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.




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         484.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         485.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         486.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         487.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         488.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         489.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         490.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         491.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         492.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         493.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         494.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.




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         495.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         496.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         497.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         498.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         499.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         500.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         501.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

                                        COUNT IV
             Tortious Interference with Contractual and/or Business Relations

         502.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         503.   This count does not apply to Renrets; thus, no response is required. To

   the extent an answer is required, the allegations in this paragraph are deemed

   denied.




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         504.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         505.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         506.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         507.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         508.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         509.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         510.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

                                        COUNT V
                                     Civil Conspiracy

         511.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         512.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.




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         513.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case and statute cited but denies the characterization of the case and

   statute. Renrets denies the remaining allegations.

         514.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         515.   Denied.

         516.   Denied.

         517.   Denied.

         518.   Denied.

         519.   Denied.


                                       COUNT VI
                                    Breach of Contract

         520.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         521.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         522.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.




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         523.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         524.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         525.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         526.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         527.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         528.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

         529.   This count does not apply to Renrets; thus, no answer is required. To the

   extent an answer is required, the allegations in this paragraph are deemed denied.

                                       COUNT VII
                         Unjust Enrichment and Constructive Trust

         530.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         531.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.




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         532.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         533.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         534.   Denied.

         535.   Denied.

         536.   Denied.

         537.   Denied.

         538.   Denied.

         539.   Denied.

         540.   Denied.

         541.   Denied.

         542.   Denied.

         543.   Denied.

         544.   Denied.

         545.   Denied.

         546.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.




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         547.   Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         548.   Denied.

         549.   Denied.

         550.   Denied.

         551.   Denied.



                                      COUNT VIII
                            Conversion and Constructive Trust

         552.   Renrets incorporates each answer in the preceding paragraphs as if set

   forth fully herein.

         553.   This paragraph contains conclusions of law to which no response is

   required. To the extent an answer is required, those conclusions are denied.

         554.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         555.   Renrets admits that the partially quoted language in this paragraph is

   contained in the case cited but denies the characterization of the case. Renrets denies

   the remaining allegations.

         556.   Denied.

         557.   Denied.

         558.   Denied.




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         559.    Denied.

         560.    Renrets is without sufficient knowledge to form a belief as to the truth

   of the allegations contained in this paragraph, and therefore the allegations are

   deemed denied.

         561.    Denied.

         562.    Denied.



                                   PRAYER FOR RELIEF

         WHEREFORE, Defendant Renrets, LLC, denies that Plaintiffs are entitled to

   any of the relief requested in this section and respectfully requests that the court

   dismiss the Third Amended Complaint in its entirety and enter judgment in Renrets,

   LLC’s favor and against Plaintiffs.

                  DEFENDANT RENRETS, LLC’S AFFIRMATIVE DEFENSES

         Defendant Renrets, LLC, asserts the following affirmative defenses, reserving

   the right to assert additional defenses when and where they become appropriate.

         1.      Plaintiffs’ claims are barred in whole or in part by the doctrine of

   unclean hands, release, estoppel, delay, laches, ratification, assumption, and/or

   waiver.

         2.      Plaintiffs’ claims fail in whole or in part by Plaintiffs’ failure to state a

   claim upon which relief may be granted.

         3.      Plaintiffs’ alleged damages were not caused by an alleged act or omission

   of Renrets.




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         4.       If Plaintiffs sustained any injury or incurred any loss or damages as

   alleged in the Third Amended Complaint, the same were caused in whole or in part

   by acts or omissions of another or others over whom Renrets is not responsible, and

   whose conduct Renrets had no duty or reason to anticipate or control.

         5.       Plaintiffs’ claims are barred in whole or in part by the economic loss rule.

         6.       Plaintiffs’ claims are barred in whole or in part by the statute of

   limitations.

         7.       Plaintiffs’ claims are barred because Plaintiffs have suffered no injuries

   or damages as a result of the alleged wrongdoing.

         8.       Plaintiffs’ RICO claim is barred because Plaintiffs failed to allege

   sufficient factual allegations to state a claim that Renrets was part of an “enterprise”

   as required in order to sufficiently plead a civil RICO claim.

         9.       Plaintiffs’ claims are barred in whole or in part because any damages

   were caused by Plaintiffs’ own actions.

         10.      Plaintiffs failed to mitigate its alleged damages, and as such, Plaintiffs’

   recovery in this matter, if any, must be offset due to its failure to mitigate.

         11.      Plaintiffs’ claims are barred because at all times relevant to the matters

   alleged in the operative complaint, Renrets acted in good faith and in a reasonable

   manner, relying upon the representations and advice of counsel, Mr. Atherton.



   Dated: August 31, 2022                           Respectfully submitted,


                                                    /s/ Jared J. Roberts




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                                            Counsel for Defendant Renrets LLC




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                             CERTIFICATE OF SERVICE

         I certify that on August 31, 2022, a copy of the foregoing was filed with the

   Clerk of the Court using the Court’s CM/ECF system, which will send a copy to all

   counsel of record.

                                               /s/ Jared J. Roberts
                                               Jared J. Roberts

                                               Counsel for Defendant Renrets LLC
